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                                                hecertificateofcompliancerequestedintheself-addressed stampedenvelopeJrovided.
          NOTICE TO TI4E RECIPIENT from theOfficeoftheSecretary oftheCom monwealthofVirginia:
                   You arebeing servedwiththisnoticeandatt     achedpleadingsunderSection8.01-329oftheCodeofVirginiawhichdesignates
                   theSecretaryoftheCom monw ea1thasstatutory agentforServiceofProcess.TheSecretaryoftheComm onwealth'sONLY
                   responsibility istom ail,bycertifiedmail,return receiptrequested,theenclosedpaperstoyou.Ifyouhaveanyquestions
                   concerning these documents,you m ay wish to seek advicefrom alawyer.
          SERVICE OF PROCESS IS EFFECTIVE ON TH E DATE THAT TIIE CERTIFICATE OF COM PLIAN CE IS FILED W ITH TH E
          ABOVE-NAM ED COURT.
                                                            CERTIFICATE O F COM PLIANCE
          1,the undersigned,clerk in the .office ofthe secretary ofthecom monwealth,hereby certify the following:
                             dEC C1-2017                               legalserviceinthçabove-styled casew asm adeuponthesecretaryofthe
               Com m onwealth,asstatutol'
                                        y agentforpersonsto be served in accordance with Section 8.01-329 oftheCode ofVirginia,asam ended.
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